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                                                     Exhibit 30
                       Designations of Deposition Testimony of Milton Lee (January 20, 2023)


             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’     Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                           Objections
       6:10                    6:13
        11:3                   12:1
       12:17                   13:2
       14:10                   14:21
       14:25                   15:8
       16:22                   16:25
       17:7                    18:6
       21:10                   21:19
       21:24                   22:3
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       30:12                   31:6
       31:10                   31:25
       32:18                   32:25
       33:13                   34:14
       38:23                   39:12
       42:7                    42:20
       43:20                   45:2
       47:4                    49:13
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       64:21                   64:24
       65:21                   66:21
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             Plaintiffs’ Affirmative Designations                      Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’   Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                         Objections
       75:6                    75:24
       77:6                    78:20
       79:16                   79:23
       80:18                   80:25
       87:1                    110:23
       113:1                   113:17




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